
The defendant was presented before the Superior Court of law for Doudon county, for unlawful gaming. The summons awarded *87against him being returned executed, the defendant was solemnly called but came not, nor did he make his personal appearance in court, but W. C., gentleman, attorney at law, offered to appear and plead for him, to which the attorney for the commonwealth objected, alleging that the defendant ought to appear personally in court, and that he was precluded from pleading by attorney, without such personal appearance, by the 3d section of the act entitled “an act to amend the several acts heretofore made, to prevent unlawful gaming.” The superior court adjourned the case to the general court, and the following question arising therefrom. “ Ought the defendant in this case to be permitted 335 *to appear and plead by his attorney without making his personal appearance in court?”
November 12th, 1814. The general court decided, that the said defendant may in this case appear, and plead by his attorney, without making his personal appearance in court.”
